Case 3:24-cv-06029-ZNQ-JBD   Document 17-12      Filed 08/20/24       Page 1 of 8 PageID:
                                    691



                                 EXHIBIT 11

                  2/29/2024 Memorandum Order (Civil Rights Dkt. 78)
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 1 of
                                                              Page
                                                                 7 PageID:
                                                                    2 of 8 PageID:
                                                                           514
                                     692



 NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 TYSHON EDWARDS,

                         Plaintiff,
                                                             Civil Action No. 20-13552 (DEA)
                         v.
                                                                MEMORANDUM ORDER
 CITY OF TRENTON, et al.,

                         Defendants.


 ARPERT, United States Magistrate Judge


        This matter comes before the Court upon Plaintiff Tyshon Edwards’ (“Plaintiff”) Motion

 for Approval of Settlement Agreement and for Entry of Consent Judgment (“Motion to Approve”)

 (ECF No. 62), and Third-Party Insurer Certain Underwriters of Lloyd’s London’s (“Underwriters”)

 Motion to Intervene in this action (ECF No. 67). Underwriters opposed Plaintiff’s Motion to

 Approve (ECF No. 76), and Defendant City of Trenton (“Trenton”) (ECF No. 70) and Plaintiff

 (ECF No. 71) opposed Underwriters’ Motion to Intervene. All oppositions were replied to. (ECF

 Nos. 72, 77.) Oral argument was heard on both motions on February 28, 2024. After consideration

 of the parties’ submissions and the argument of counsel, and for the reasons outlined below, the

 Court grants Plaintiff’s Motion to Approve and denies Underwriters’ Motion to Intervene.

        As all parties are intimately familiar with the facts underlying this matter, the Court recites

 only those facts necessary to resolve the instant motions. On January 26, 2024, Plaintiff and

 Trenton entered into a Settlement Agreement. (ECF No. 62-1.) Under the terms of the Settlement


                                                  1
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 2 of
                                                              Page
                                                                 7 PageID:
                                                                    3 of 8 PageID:
                                                                           515
                                     693



 Agreement, Trenton agreed to the entry of a Consent Judgment against it wherein judgment would

 be entered in favor of Plaintiff in the amount of $5,000,000. (Id.) The Settlement Agreement

 contemplates that $500,000 of this sum will be paid by Trenton with an assignment to Plaintiff of

 all of Trenton’s rights against Underwriters including, but not limited to, any rights to collect upon

 the Consent Judgment. (See ECF No. 62-1.) 1

        The same day that the Settlement Agreement was signed by Plaintiff and Trenton, Plaintiff

 filed its Motion for Approval of Settlement Agreement and for Entry of the Consent Judgment.

 (ECF No. 62.) On February 9, 2024, Underwriters filed a Motion to Intervene as a matter of right

 contending that: (1) Underwriters is an interested party under Federal Rule of Civil Procedure

 24(a)(2) because “it has a cognizable legal interest in the instant matter that is threatened by the

 proposed settlement”; and (2) that the existing parties do not represent Underwriters’ interest in

 the underlying litigation. (ECF No. 68.) Plaintiff contends in opposition, in pertinent part, that: (1)

 Underwriters’ interests in this action are contingent, and therefore, intervention is not appropriate;

 (2) Underwriters’ motion is untimely; and (3) Underwriters’ motion fails to comply with Rule

 24(c). (ECF No. 71.)

        The Court agrees with Plaintiff and Trenton, and the Court’s analysis of this point can be

 brief. As an initial matter, Underwriters’ Motion to Intervene is procedurally deficient. Rule 24(c)

 requires that “[a] motion to intervene must . . . state the grounds for intervention and be

 accompanied by a pleading that sets out the claim or defense for which intervention is sought.”

 FED. R. CIV. P. 24(C) (emphasis added); see also Local Civil Rule 7.1(f)(1) (“[U]pon filing of a




 1
  The Settlement Agreement provides that Trenton’s Public Entity Package Policy underwritten by
 Underwriters (the “Policy”) outlines that the limit of liability for Law Enforcement Liability
 Coverage “is $3,000,000.00 each Occurrence and $6,000,000.00 Annual Aggregate of Liability,
 subject to a $500,000.00 Self Insured Retention.” (ECF No. 62-1.)
                                                   2
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 3 of
                                                              Page
                                                                 7 PageID:
                                                                    4 of 8 PageID:
                                                                           516
                                     694



 motion for leave to file a complaint in intervention, the moving party shall attach to the motion a

 copy of the proposed pleading . . .). Underwriters’ did not attach a proposed pleading to their

 Motion to Intervene. As such, Underwriters’ Motion is procedurally deficient, which is sufficient

 reason alone to deny the Motion to Intervene. Transource Pa., LLC v. Dutrieuille, No. 21-2567,

 2022 WL 2235466, at *3 (3d Cir. 2022) (finding that it is within the District Court’s discretion to

 deny a third-party’s motion to         intervene under Rule 24(c) because the motion was not

 accompanied by a pleading).

        More importantly, Underwriters’ Motion to Intervene is also substantively flawed. In the

 Third Circuit:

                  a litigant seeking intervention as of right under Rule 24(a)(2) must
                  establish 1) a timely application for leave to intervene, 2) a sufficient
                  interest in the underlying litigation, 3) a threat that the interest will
                  be impaired or affected by the disposition of the underlying action,
                  and 4) that the existing parties to the action do not adequately
                  represent the prospective intervenor's interests.

 Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 221 (3d Cir. 2005) (collecting cases). “Each

 requirement ‘must be met to intervene as of right’” Islamic Soc’y of Basking Ridge v. Township of

 Bernards, 681 F. App’x 110, 112 (3d Cir. 2017) (quoting Mountain Top Condo. Ass’n v. Dave

 Stabbert Master Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995)).

        Here, Underwriters fail to show, at a minimum, that they have a sufficient interest in the

 underlying litigation to justify intervention. First, Underwriters only have an economic interest in

 this litigation, i.e., mitigating any judgment they may have to pay if the Policy is later found to

 obligate Underwriters to indemnify Trenton. Notably, “a mere economic interest in the outcome in




                                                     3
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 4 of
                                                              Page
                                                                 7 PageID:
                                                                    5 of 8 PageID:
                                                                           517
                                     695



 the litigation is insufficient to support a motion to intervene. 2” Sullivan v. Borough of Atlantic

 Highlands, No. 19-19510, 2021 WL 915210, at *2 (D.N.J. Mar. 10, 2021) (quoting Mountain Top,

 72 F.3d at 366). Second, Underwriters only have a contingent economic interest in this matter,

 which further removes Underwriters’ interest from that which can justify intervention.

 Castracane-Sedlac v. Mason, No. 20-6080, 2021 WL 4710513, at *3 (D.N.J. Oct. 8, 2021)

 (collecting cases). This second point warrants further explanation.

        Critically, Underwriters maintains that it has neither denied nor conceded coverage under

 the Policy. (See Underwriters’ Moving Br. 6.) Instead, Underwriters insists on reserving its right

 to deny coverage without expressly doing so although Underwriters has made clear that coverage

 under the Policy is likely to be denied. (See Trenton’s Ex. C, Coverage Position Letter, ECF No.

 70-1 (outlining that Underwriters reserves its rights to deny coverage under several of the Policy’s

 provisions and making clear that Underwriters has no duty to defend in this matter, only a potential

 duty to indemnify Trenton if Trenton proves to be covered by the Policy); Trenton Ex. B, Koury

 Email, ECF No. 70-1 (providing an email from David Koury, an Underwriters representative,

 noting that Underwriters’ January 13, 2023 coverage position letter confirmed that “Underwriters




 2
   The Court recognizes Underwriters’ contention that “the proposed settlement implicates a
 specific fund,” which if shown to be true, is an exception to the general rule that an economic
 interest is insufficient to justify intervention. (Underwriters’ Moving Br. 5-6, ECF No. 68.)
 Specifically, Underwriters contends that “the indemnity loss reserve payable by Underwriters for
 covered losses incurred by [Trenton]” qualifies as a fund. (Id.). This argument functionally
 maintains that “the insurance policy covering [Trenton] is a fund” that circumvents the general
 rule that economic interests are insufficient for an insurer to intervene. (Id.) Underwriters provides
 no case law to support this position other than the case law laying out the “fund exception”
 generally. This may be because relevant case law actually suggests the opposite conclusion, i.e.,
 that insurance policies are not funds within the meaning of the exception. See Treesdale, 419 F.3d
 at 221-22 (explaining in detail why an appellant insurer’s contention that the insurer’s Umbrella
 Excess Liability Policies constituted a “specific” fund is rejected and distinguishing Mountain Top,
 the case Underwriters cites to set forth its contention, from facts similar to those in front of this
 Court).
                                                   4
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 5 of
                                                              Page
                                                                 7 PageID:
                                                                    6 of 8 PageID:
                                                                           518
                                     696



 do not believe coverage exists for this matter”).) Whether Underwriters denied coverage or

 reserved its right to deny such coverage is inapposite because either outcome results in a contingent

 interest.

         To be clear, Underwriters may have a vested interest in this litigation, as opposed to a

 contingent interest, only if Underwriters were to concede coverage. 3 See CPL (Linwood), LLC v.

 Rossetti Roofing, Inc., No. 09-6228, 2010 WL 11570374, at *2 (D.N.J. July 28, 2010) (citing

 Travelers Indem. Co. v. Dingwell, 884 F.2d 629, 638 (1st Cir. 1989)). This is because in that

 circumstance, Underwriters would be certainly accountable to indemnify Trenton up to the Policy’s

 coverage limit upon settlement in this litigation, and therefore, Underwriters would be the truly

 interested party in any settlement discussion. (See id.) Here, however, coverage is at best uncertain 4

 and at worst denied. If Underwriters were to have denied coverage, Underwriters would have no

 interest in this litigation because by their own logic they would not be liable for any settlement

 Trenton enters into. To the extent Trenton’s coverage is uncertain under the Policy because

 Underwriters reserved a right to deny coverage, Underwriters can only have a contingent interest

 because Underwriters’ interest is subject to a condition precedent: whether the Policy will

 ultimately cover Trenton’s liabilities. 5 See Castracane, 2021 WL 4710513, at *3 (crediting the

 Middle District of Pennsylvania’s conclusion that an insurer’s interest in a lawsuit that does not


 3
  Even if this interest was vested, the Court again notes that intervention still would likely not be
 appropriate because Underwriters appears to only have an economic interest in this matter.
 4
   The Court notes that several cases support the Court’s finding that the reservation of the right to
 deny coverage under an insurance policy is a contingent interest for purposes of intervention. See,
 e.g., CPL (Linwood), 2010 WL 11570374, at *2; Dingwell, 884 F.2d at 638; Restor-A-Dent Dental
 Lab’ys v. Certified Alloy Prods., Inc., 725 F.2d 871, 874-76 (2d Cir. 1984); Castracane-Sedlac,
 2021 WL 4710513, at *3.
 5
  In fact, an interest subject to a condition precedent (such as whether Trenton will be covered
 under the Policy) is, by definition, a contingent interest. Contingent, MERRIAM-WEBSTER
 DICTIONARY (2024) (defining “contingent” as “dependent on or conditioned by something else”).
                                                   5
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 6 of
                                                              Page
                                                                 7 PageID:
                                                                    7 of 8 PageID:
                                                                           519
                                     697



 concern “the respective rights and obligations of an insured and his insurer [] under [an] insurance

 policy” is necessarily contingent because any interest the insured has is “contingent on the

 resolution of the coverage issue” (citing Carey v. City of Wilkes-Barre, No. 05-2093, 2008 WL

 11492790, at *2 (M.D. Pa. Nov. 10, 2008)).

         In sum, whether the Court were to credit Plaintiff’s contention that Underwriters denied

 coverage or Underwriters’ contention that coverage was not denied but Underwriters simply

 reserved its right to deny coverage, the same holds true: Underwriters has only shown a contingent

 interest in this litigation. Accordingly, Underwriter’s Motion to Intervene must be denied both

 because Underwriters have only shown: (1) an economic interest in this litigation, i.e., limiting the

 amount of money they have to pay if Trenton is later found to be covered by the Policy; and (2) a

 contingent interest in this litigation, i.e., an interest that is contingent on a separate finding that the

 Policy covers Trenton. 6

         With Underwriters’ Motion to Intervene considered and denied, the Court briefly turns to

 Plaintiff’s Motion for Approval of Settlement Agreement and for Entry of Consent Judgment.

 Plaintiff and Trenton entered into the Settlement Agreement based on the holding in Griggs v.

 Bertram. 443 A.2d 163 (N.J. 1982). Under Griggs, where two parties agree to settlement terms




 6
   The Court also notes that the timeliness of Underwriters’ Motion is suspect. While Underwriters
 insists that it was caught completely off-guard by the $5,000,000 settlement between Plaintiff and
 Trenton, and while it is true that $5,000,000 may have been a greater amount than Underwriters
 believed was at issue given prior settlement discussions, the Court finds that Underwriters is likely
 responsible for being taken by surprise in this case. Specifically, the Court finds it significant that
 Underwriters had a representative present during settlement discussions in this case and that
 Underwriters’ representative remained completely disinterested in engaging with the Court or the
 parties in resolving this matter. As such, the Court is unpersuaded that Underwriters could not have
 known a $5,000,000 settlement amount could be in play because there is no indication that
 Underwriters took sufficient interest to fairly say that it truly was not aware that a $5,000,000
 settlement might occur.
                                                     6
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7817-12
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 7 of
                                                              Page
                                                                 7 PageID:
                                                                    8 of 8 PageID:
                                                                           520
                                     698



 that may be enforceable against an insurer, the parties must show the Court that: (1) the parties

 settlement is reasonable; and (2) the parties engaged in good faith. (Id.)

        This Court is well familiar with this case having presided over multiple appearances,

 conferences, and disputes since its inception. The Court has also engaged counsel on numerous

 occasions in settlement dialog during which Plaintiff’s counsel repeatedly presented evidence of

 “comparator” cases, damages awards in other similar cases, and average per-diem rates based on

 similar circumstances. The proposed Consent Judgment falls easily within that realm. It is also

 noteworthy that the proposed $5,000,000 judgment was the result of a negotiation between

 Plaintiff and Trenton which significantly reduced the amount initially sought by Plaintiff.

        For these reasons, the Court is persuaded that a $5,000,000 settlement is reasonable and

 consistent with other similar cases in this State. Further, the Court has no reason to believe, nor is

 there any evidence that, the parties acted with ill intentions despite Underwriters’ suggestions to

 the contrary. (Cf. Pl.’s Moving Br. 5, ECF No. 62 (detailing how Plaintiff ascertained the

 reasonableness of the $5,000,000 award in this case and identifying at least one similar local case

 that resulted in a higher award).) Accordingly, and for the reasons outlined above and discussed

 on the record,

                      29th day of February 2024 ORDERED as follows:
        IT IS on this _____

        1.        Underwriters’ Motion to Intervene (ECF No. 67) is DENIED.

        2.        Plaintiff’s Motion for Approval of Settlement Agreement and for Entry of Consent

                  Judgment (ECF No. 62) is GRANTED.



                                                ______________________________
                                                DOUGLAS E. ARPERT
                                                UNITED STATES MAGISTRATE JUDGE



                                                   7
